       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 1 of 13




William M. Audet (SBN 117456)
Mark E. Burton, Jr. (SBN 178400)
Ling Y. Kuang (SBN 296873)
AUDET & PARTNERS, LLP
711 Van Ness Avenue, Suite 500
San Francisco, CA 94102
Telephone: (415) 568-2555
Facsimile:    (415) 568-2556
E-mails:      waudet@audetlaw.com
              mburton@audetlaw.com
              lkuang@audetlaw.com

Counsel for Plaintiffs Ramirez & Owens


                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


 In re Roundup Products Liability Litigation      MDL Case No. 3:16-md-02741-VC

 This Document Relates To:                        Case No. 3:19-cv-02224-VC

 DOLORES RAMIREZ, as the surviving
 spouse and heir and DEXTER OWENS,                RAMIREZ PLAINTIFFS’ RESPONSE TO
 individually and on behalf of others similarly   ORDER TO SHOW CAUSE
 situated,                                        REGARDING STANDING

                       Plaintiffs,
        v.                                        Hearing:    October 31, 2024
                                                  Time:       2:00 p.m.
 MONSANTO COMPANY,                                Location:   Zoom Virtual Hearing
                                                  Judge:      Honorable Vince Chhabria
                       Defendant.




      RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
        MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 2 of 13




                                              TABLE OF CONTENTS

                                                                                                                               Page

I.     INTRODUCTION............................................................................................................. 1

II.    LEGAL STANDARD ....................................................................................................... 1

III.   FACTUAL ALLEGATIONS ........................................................................................... 2

IV.    ARGUMENT ..................................................................................................................... 3

       A.      Ramirez’s Allegations Sufficiently Meet Standing Requirements ...................... 3

       B.      Owens’ Allegations Sufficiently Meet Standing Requirements ........................... 4

               i.      Plaintiff Owens suffered an injury-in-fact as he faces a credible threat of
                       future harm/NHL diagnosis, and medical monitoring is appropriate now
                       given his significant and extensive exposure to glyphosate in Roundup®
                       products, glyphosate’s toxicity, and severity of NHL. ......................................5

               ii.     Plaintiff Owens’ injury can be fairly traced to Monsanto’s acts or
                       omissions, which has caused a relative increase in the risk for NHL................7

               iii.    Plaintiff Owens’ injury can be redressed by this Court through medical
                       monitoring that provides clinical value of early detection and diagnosis. ........9

V.     CONCLUSION ............................................................................................................... 10




                                                                ii
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
          Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 3 of 13




    I.       INTRODUCTION

          In response to this Court’s Order to Show Cause issued on September 19, 2024 (MDL ECF

No. 19268), Ramirez Plaintiffs respectfully submit this response concerning standing and how the

allegations in the Third Amended Complaint (“TAC” or “Complaint”) adequately survive a facial

challenge. Plaintiff Ramirez, one of two Named Plaintiffs in the Complaint, extensively used

Defendant Monsanto’s Roundup® products containing glyphosate, was diagnosed subsequently

with the cancer non-Hodgkin’s lymphoma (“NHL”) and had asserted individual claims and on

behalf of a class of individuals exposed to Roundup® and diagnosed with NHL. The other Named

Plaintiff Owens, however, had used Roundup® glyphosate-products but has not yet been

diagnosed with NHL and now seeks individual relief and class-wide relief on behalf of a

California-only Medical Monitoring Class consisting of California citizens exposed to Roundup®

but not yet diagnosed with NHL.

          Plaintiff Ramirez undoubtedly and easily satisfies Article III standing requirements given

the allegations in the Complaint about Defendant’s misconduct, his use of Defendant’s Roundup®

glyphosate-products and his NHL diagnosis. As Plaintiff Owens has not yet been diagnosed with

NHL, the California Supreme Court articulates five factors this Court should weigh when

considering the propriety of a medical monitoring remedy. As discussed below, taking as true and

in the light most favorable to Plaintiffs, the allegations demonstrate all five factors tilt in Plaintiff

Owens’ favor and the California Medical Monitoring Class survives a facial challenge.

Alternatively, Plaintiffs seek leave to amend.

    II.      LEGAL STANDARD

          To survive a standing challenge, Plaintiffs need only allege and demonstrate: (1) an injury

in fact; (2) fairly traceable to the defendant’s conduct; (3) that is likely redressable by a favorable

court decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61, 112 S.Ct. 2130, 119 L.Ed. 2d 351

(1992); see also, Spokeo, Inc. v. Robins, 578 U.S. 330, 338, 136 S.Ct. 1540, 194 L.Ed. 2d 635

(2016). When Article III standing is challenged, the challenge may either be ‘facial’ or ‘factual.’
Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004). Here, Ramirez Plaintiffs readily survive a


                                                   1
          RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
            MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 4 of 13




facial challenge where the Court must treat all well-pleaded factual allegations as true and draw

all reasonable inferences from them. White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). “In a facial

attack[,]” the Court must further treat these allegations and inferences and “construe[] [them] in

the light most favorable to a plaintiff.” Fugazi v. Padilla, 2020 U.S. Dist. LEXIS 202165, at *5

(E.D. Cal. Oct. 28, 2020) (citing Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.

2004)).

   III.      FACTUAL ALLEGATIONS

          Plaintiff Ramirez was exposed to Defendant Monsanto’s Roundup® herbicide products,

specifically its active ingredient glyphosate, causing him to develop Non-Hodgkin’s Lymphoma

(“NHL”). See Third Amended Complaint (“TAC”) ¶¶ 1, 2, 10, 29, 45, 81, 82, 110, 127, 134. Mr.

Ramirez worked for Roto-Rooter in Salinas, California, from 1999 to 2013, where he extensively

used concentrated Roundup® on the job. Id. at ¶ 10. In 2018, he was diagnosed with Double

Expressor Large B-Cell NHL and underwent several rounds of chemotherapy treatment at Stanford

University Hospital. Id. Mr. Ramirez alleged that Monsanto failed to warn users about the

carcinogenic risks of glyphosate despite knowing or having reason to know that it was linked to

NHL. Id. at ¶¶ 2-5, 10, 28-46, 62-66. NHL is a type of cancer that is an incredibly serious and

dangerous disease with a significant risk of death. Id. at ¶ 182. After years of treatment, Mr.

Ramirez died on January 8, 2024, due to issues associated with his NHL diagnosis. See Ramirez

ECF No. 114 (Court granting a Motion to Substitute Plaintiff Robert Ramirez for his wife, Dolores

Ramirez, on April 22, 2024).

          Plaintiff Dexter Owens worked for the Fresno Unified School District in Fresno,

California, where he used Roundup® to spray around the school grounds. TAC ¶ 11. After a month

of spraying in 2017, he developed a rash on his left hand and sought treatment, for which he was

prescribed an ointment. Id. Mr. Owens has not been diagnosed with NHL but alleges that he faces

an increased risk of developing NHL due to his exposure to Roundup®. Id. He has incurred and

will incur costs and other financial burdens for medically necessary diagnostic testing for the
detection and/or treatment of NHL. Id. at ¶ 110-11. Plaintiff Owens suffered an injury in the form


                                                 2
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
         Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 5 of 13




of a credible threat of future NHL diagnosis, proximately caused by Monsanto’s tortious

misconduct. Id. Plaintiff Owens has a legally protected interest in not being exposed to

carcinogenic materials in Roundup®, especially at levels that can result in a significantly increased

risk of developing NHL. Id. The need for testing and treatment arises directly from the exposure

to harmful materials caused by Monsanto’s acts or omissions. Id. at ¶ 111; see also id. at ¶¶ 2-5,

10, 28-46, 62-66.

   IV.      ARGUMENT

            A. Ramirez’s Allegations Sufficiently Meet Standing Requirements

         Plaintiff Ramirez sufficiently alleges Article III standing. First, there is no dispute, as

alleged, he had suffered a severe injury-in-fact. See supra, Section III.A., see also TAC ¶ 10 (“In

2018, Plaintiff Ramirez was diagnosed with Double Expressor Large B-Cell Non-Hodgkin’s

Lymphoma [“NHL”]”). The NHL cancer diagnosis is a physical personal injury with a “close

relationship” to a harm or the type of harm “traditionally” recognized as providing a basis for a

lawsuit in American courts. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2211-12, 210 L. Ed. 2d

568 (2021). Moreover, the injury as alleged is not “conjectural or hypothetical” but “actual[,]”

“concrete and particularized[.]” Spokeo, 578 U.S. at 339.

         Second, as alleged, this injury was traceable to Defendant’s acts and omissions. Plaintiff

Ramirez has alleged the “long associated” relationship between “[g]lyphosate and Roundup®”

products he extensively used from “1999 to 2013” and with these products’ “carcinogenicity and

the development of NHL.” TAC ¶¶ 10, 28; see also e.g., id. at ¶¶ 1-3, 29-46, 78-80, 98, 137.

Plaintiffs also alleged that Defendant attempted to “induce Plaintiffs and members of the Class to

use Roundup®” by way of misrepresentations and/or omissions. TAC ¶ 62; see also e.g., id. at ¶¶

64-66 [Section E. Monsanto’s False Representations Regarding Safety of Roundup], ¶¶ 124, 128.

         Third, a favorable court decision will provide redress. Plaintiff Ramirez and the Class are

seeking compensatory, exemplary, and punitive damages and other monetary relief. See TAC,

Prayer for Relief at ¶¶ ii-iii; see also, id. at ¶¶ 138-39, 160-61, 169. A favorable Court decision
and Court award of these damages or other forms of equitable relief directly redress Plaintiff


                                                  3
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 6 of 13




Ramirez’s injury by providing financial compensation for his injury and related harm. Platt v.

Moore, 15 F.4th 895, 912 (9th Cir. 2021) (“Plaintiffs would have had Article III standing to pursue

compensatory damages”) (emphasis in original). Plaintiff Ramirez’s allegations provide sufficient

standing to pursue the claims in the Complaint (Strict Liability—Design Defect and Failure to

Warn, Negligence/Negligent Misrepresentation, and Declaratory Relief).

           B. Owens’ Allegations Sufficiently Meet Standing Requirements

       Plaintiff Owens seeks to certify and represent a California medical monitoring Class

(TAC ¶¶ 107-113) consisting of Californians who have “been exposed to Roundup® and have

not been diagnosed with [NHL].” Id. As discussed below, Plaintiff Owens facially alleges

sufficient facts to meet Article III standing requirements and demonstrate why all five (5) Potter

factors, which the Court should consider when evaluating the remedy of medical monitoring in

California, tilt towards Plaintiff Owens and the Class:

       (1) The significance and extent of the plaintiff’s exposure to [glyphosate in
       Roundup® products];
       (2) The relative toxicity of [glyphosate];
       (3) The seriousness of the disease [NHL] for which plaintiff is at an increased
       risk;
       (4) The relative increase in the plaintiff's chances of developing [NHL] as a result
       of the exposure, when compared to (a) plaintiff's chances of developing the
       disease had he or she not been exposed, and (b) the chances of members of the
       public at large of developing the disease; and
       (5) The clinical value of early detection and diagnosis.

Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 1006 (Cal. 1993) (citations omitted).

Potter made clear that in California, medical monitoring as a remedy “is not contingent upon a

showing of a present physical injury [or] upon proof that [an] injury is reasonably certain to

occur in the future[.]” Id. Plaintiff Owens needs to facially allege, and has alleged, an increased

risk of developing NHL due to Defendant’s misconduct. See, e.g., TAC ¶¶ 11, 29, 45, 81, 82,

127, 134. Medical monitoring is an appropriate remedy based upon the allegations made in the

Complaint as detailed below.




                                                 4
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 7 of 13




                    i. Plaintiff Owens suffered an injury-in-fact as he faces a credible threat of
                       future harm/NHL diagnosis, and medical monitoring is appropriate now
                       given his significant and extensive exposure to glyphosate in Roundup®
                       products, glyphosate’s toxicity, and severity of NHL.

       Plaintiff Owens has suffered an injury-in-fact in support of Article III stemming from the

credible threat of future harm in developing NHL. “A plaintiff threatened with future injury has

standing to sue if […] there is a substantial risk that the harm will occur.” McGee v. S-L Snacks

Nat’l, 982 F.3d 700, 709 (9th Cir. 2020) (citation omitted). And “a credible threat of future harm

is sufficient to establish an injury in fact.” Id. Courts have found that plaintiffs have established

Article III standing by alleging an injury based on future harm in similar circumstances as those
here. See, e.g., Public Watchdogs v. S. Cal. Edison Co., 2019 U.S. Dist. LEXIS 208372, at *7-8

(S.D. Cal. Dec. 3, 2019) (concluding that plaintiffs’ allegations of defendants’ misconduct with

the management and handling of spent nuclear waste created an imminent risk of death, injury,

illness, or significant bodily harm to millions of California residents were sufficient to establish

standing); Navarro v. Exxonmobil Corp., 2023 U.S. Dist. LEXIS 89343, *12 (C.D. Cal. May 22,

2023) (“[A] substantially increased risk of developing cancer and other illnesses can

unquestionably constitute an injury”) (citation omitted).

       Here, Defendant’s misconduct created an imminent risk when they failed to adequately

inform and warn of the serious risks associated with the use and exposure to Roundup® herbicide,

including the active ingredient glyphosate, which is linked to the development of non-Hodgkin’s

Lymphoma (“NHL”), a type of cancer. TAC ¶¶ 1-5, 64-66. Plaintiff Owens was exposed to that

risk and suffered from it. Id. at ¶ 11. The threat of a credible future injury upon Plaintiff Owens

and the medical monitoring Class has been alleged in the operative Complaint and, therefore,

sufficiently conveys Article III standing. McGee, 982 F.3d at 709.

       Moreover, 3 of the 5 Potters factors that touch on the issue of injury, when considered

alongside the copious allegations in the Third Amended Complaint (“TAC”), further demonstrate

and weigh in favor of the propriety of a medical monitoring Class and remedy.



                                                 5
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 8 of 13




       Potter Factor 1: Significance and extent of the plaintiff’s exposure to Roundup®

       Plaintiff Owens “worked for the Fresno Unified School District” where, as a part of his

occupation, “sprayed Roundup® around the school grounds [and in] 2017, after a month of

spraying, Plaintiff Owens developed a rash on his left hand.” TAC ¶ 11. Given the size and number

of facilities in the Fresno Unified School District, the fourth largest in California, it can be

reasonably inferred from the allegations at this pleading stage, taken in the light most favorable to

Plaintiffs, that Plaintiff Owens extensively used Roundup® as a part of his job across the school

district and the usage was significant enough to develop outward symptoms such as the rash over

the course of a month. TAC ¶ 11.

       Potter Factor 2: Relative toxicity of glyphosate in Roundup®

       The TAC clearly alleges that “Roundup® and the glyphosate found within it possess

carcinogenic [properties and therefore] highly toxic.” TAC ¶ 180. Indeed, the toxicity of

glyphosate is even more pronounced within Roundup® products than it would be on its own. Id.

at ¶ 30 (“glyphosate-based formulations found in Defendants’ Roundup® products are more

dangerous and toxic than glyphosate alone”). The Complaint is replete with allegations concerning

the danger and carcinogenic nature of Defendant’s product. See, e.g., id. at ¶¶ 26-39 (Evidence of

Carcinogenicity in Roundup), ¶¶ 40-46 (IARC Classification of Glyphosate and Dangers Posed),

¶¶ 78-80 (California Agency Review of Glyphosate and its Dangers), ¶¶ 32-33, 43-44 (studies

demonstrating danger of glyphosate). Plaintiff Owens more than sufficiently alleges the harm and

danger posed by glyphosate due to Monsanto’s misconduct and demonstrated the second Potter

factor favors medical monitoring as a relief for Plaintiff Owens and the Class. Id. at ¶ 109.

       Potter Factor 3: Seriousness of NHL for which plaintiff is at an increased risk

       Similar to the second Potter factor, the severity of NHL cannot be readily disputed and is

copiously alleged in the Complaint. See TAC at ¶¶ 2-3, 11, 28-29, 32, 45, 58, 64, 73, 80, 82, 107-

111, 124, 127, 164-68, 181-85. The seriousness and danger of NHL cannot be overstated: “NHL

is a type of cancer that is an incredibly serious disease with a significant risk of death.” Id. at ¶
182. The third Potter factor tilts heavily in Plaintiff Owens’ favor.


                                                  6
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
       Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 9 of 13




       Taken all together—Plaintiff Owens has alleged that (i) he used Defendant’s glyphosate-

imbued Roundup® products, the significance and extent of which can be reasonably inferred, (ii)

that glyphosate is a heavily toxic chemical and even more so when within Defendant’s products,

(iii) that NHL can develop in the future and is a highly dangerous and serious illness, and (iv) that

as a result of all these factors, Plaintiff Owens now faces a credible threat of future harm sufficient

to meet the injury-in-fact requirement of Article III standing.

                   ii. Plaintiff Owens’ injury can be fairly traced to Monsanto’s acts or
                       omissions, which has caused a relative increase in the risk for NHL.

       The traceability requirement for facial Article III standing has also been met here. To

satisfy this element, “[t]he line of causation between the defendant’s action and the plaintiff’s harm

must be more than attenuated.” Wash. Envtl. Council v. Bellon, 732 F.3d 1131, 1141 (9th Cir.

2013). “[P]laintiffs need not ‘demonstrate that defendants’ actions are the ‘proximate cause’ of

plaintiffs’ injuries.’ The critical inquiry is whether the causal chain is plausible.” Riva v. Pepsico,

Inc., 82 F. Supp. 3d 1045, 1053 n.3 (N.D. Cal. 2015) (citing Maya v. Centex Corp., 658 F.3d 1060,

1070 (9th Cir. 2011)).

       Plaintiff Owens’ allegations highlight with significant detail the causal link between

Defendant’s affirmative misconduct and omissions that led to the injury alleged. TAC ¶¶ 28-46,

78-80 (evidence of carcinogenicity known or should have been known to Monsanto), ¶¶ 62-66

(Monsanto’s misconduct including “induce[ment]” of Plaintiff Owens and the Class to use its

dangerous products), ¶¶ 152, 167 (Plaintiff Owens and the Class encountering and reasonably
relying upon Monsanto’s expertise and representations to not provide dangerous products to them).

These allegations more than demonstrate a plausible causal chain at the pleading stage.

       Potter Factor 4: Relative increase in chances of developing NHL as a result of the
                        exposure, compared to (a) plaintiff's chances of developing the
                        disease had he or she not been exposed, and (b) the chances of the
                        public developing the disease

       Numerous studies and related allegations in the Complaint demonstrate not only the causal
link between Monsanto’s misconduct and harm inflicted, but also the relative increase in risk


                                                  7
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
      Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 10 of 13




towards developing NHL from exposure to glyphosate in Roundup® products. TAC ¶¶ 29, 45, 81,

82, 110, 127, 134. Many of these studies have already been examined in detail by this Court. In re

Roundup Prods. Liab. Litig., 390 F. Supp. 3d 1102, 1151-52 (N.D. Cal. 2018) (denying summary

judgment, finding evidence presented could allow “a reasonable jury [to] conclude that glyphosate

can cause NHL at human-relevant doses” and further noting the evidence at issue have identified

“a few statistically significant elevated odds ratios from case-control studies and meta-analyses”).

       Several of the studies have been alleged in the Complaint. TAC ¶ 29. For example, one

2008 study showed “[t]he overall odds ratio for glyphosate was 2.02 (1.10, 3.71). [And] [b]reaking

this down, the unadjusted results showed statistically significant associations for glyphosate and

NHL for those who were exposed to glyphosate for greater than ten days — 2.36 (1.04, 5.37),

versus 1.69 (0.70, 4.07) for those exposed for less than ten days.” In re Roundup Prods. Liab.

Litig., 390 F. Supp. 3d at 1120. At the pleading stage, Plaintiff Owens has more than sufficiently

alleged the ‘relative increase’ in risk for NHL from glyphosate exposure by way of demonstrably

higher odds ratios. See also, id. at 1132 n.30 (rejecting Monsanto’s argument for a statistically

significant odds ratio of greater than 2.0 and noting controlling case law “that a relative risk of

greater than 1.0 is relevant to general causation”). The studies, including the 2008 study, further

contains comparisons to control groups who did not face exposure and/or the public. Id. at 1120

(“[t]he authors used as the control group for this part of the analysis people who were not exposed

to any of the pesticides included in the study.”). Thus, the allegations herein are a significant

departure from the “threadbare allegations” in cases like Riva, which Monsanto may rely on.

Navarro, 2023 U.S. Dist. LEXIS 89343, at *12-13 (distinguishing Riva v. Pepsico, Inc., 82 F.

Supp. 3d 1045 (N.D. Cal. 2015)).

       Finally, to the extent the Court harbors concerns regarding the ‘significance’ or ‘degree’ of

this demonstrated increase in risk (TAC ¶ 29), or in other words, whether the risk increased

sufficiently on a quantitative level, the court in Trujillo v. Ametek, Inc. confronted the same issue

and noted that examination of the ‘significance’ in risk is misplaced and further that the issue was




                                                 8
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
      Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 11 of 13




more appropriate for the trier-of-fact. 2015 U.S. Dist. LEXIS 156803, at *16-20 (S.D. Cal. Nov.

18, 2015):

       [Defendant] also argues that Plaintiffs should not be entitled to pursue a damages
       claim for medical monitoring […and] relies on Riva v. Pepsico, Inc., 82 F. Supp.
       3d 1045 (N.D. Cal. 2015) to support the proposition that Plaintiffs’ damages claims
       should be dismissed for failure to plead factual content showing that there was a
       "significant" increase in their risk of developing cancer. [Defendant’s] reliance
       on Riva is misplaced. […] The [Riva] district court found that the plaintiffs failed
       to plead factual content showing that there was a "significant" increase of
       developing lung cancer where studies had found clear evidence of the carcinogenic
       effects of 4-mel on mice, but not humans, contrasting the facts of the case with
       those in a number of other cases where courts upheld medical monitoring claims
       where the toxic exposures had a demonstrable risk to [human] health, [and] also
       noted as an additional deficiency that the plaintiffs had not presented "the
       quantitative (or even qualitative) increased risk to individuals. […Moreover] The
       California Supreme Court contemplated that establishing whether the Miranda
       standard [which Potter is based on] is met is usually a question for the trier of fact,
       since "competent medical testimony" will usually be required to determine
       "whether and to what extent the particular plaintiff's exposure to toxic chemicals in
       a given situation justifies future periodic medical monitoring."

Id. (emphasis added) (citations omitted); see also, Bowen v. Energizer Holdings, Inc., 2024 U.S.

App. LEXIS 24741, *5 (9th Cir. Oct. 1, 2024) (“prematurely resolving merits issues”). Plaintiff

Owens sufficiently alleges an injury that can be traced to Defendant’s misconduct and

demonstrated a credible and relative increase in risk sufficient to meet Article III standing
requirements and tilt the fourth Potter factor in its favor.

                   iii. Plaintiff Owens’ injury can be redressed by this Court through medical
                        monitoring that provides clinical value of early detection and diagnosis.

       Plaintiff Owens sufficiently alleges the need for and usefulness of a medical monitoring

program as a form of remedy and redress. TAC ¶¶ 11, 107-111, 177-186 (“significant medical

benefit in terms of increasing the likelihood of positive outcomes as a result of early detection and

diagnosis of NHL”). These allegations, taken as true at this stage, demonstrate Plaintiff Owens




                                                   9
       RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
         MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
        Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 12 of 13




meets the Article III standing requirement of redressability and further below, pursuant to the fifth

Potter factor, the value and health benefits of early detection.

        Potter Factor 5: Clinical value of early detection and diagnosis

        The Third Amended Complaint clearly alleges that “monitoring and the early detection of

an NHL diagnosis will greatly improve lifespan, health, and the well-being of those members in

the Medical Monitoring Class.” TAC ¶ 108. Case law, including the Potter Court itself, recognizes

the general “value of early diagnosis and treatment for many cancer patients.” Potter, 6 Cal. 4th at

1008. Aligning with the allegations in the TAC, the Potter Court provided examples of how “the

early detection of cancer may improve the prospects for cure, treatment, prolongation of life and

minimization of pain and disability.” Id.; compare with, TAC ¶¶ 108, 182. At this stage, these

allegations are sufficient. A “trier-of-fact” may determine, with the help of “medical testimony,”

what exactly and in what “given situation justifies future periodic medical monitoring.” Potter, 6

Cal. 4th at 1009; see also, Lockheed Martin Corp. v. Superior Court, 29 Cal. 4th 1096, 1115 (Cal.

2003) (“the clinical value of early detection and diagnosis may vary significantly depending on

the medical condition at issue and the individual characteristics of each class member”). Plaintiffs

have shown the fifth Potter factor tilts in their favor when facing a facial attack on the allegations

of the Complaint.

   V.      CONCLUSION

        For the foregoing reasons, Ramirez Plaintiffs have sufficiently alleged facts to meet

standing requirements. Additionally, Plaintiff Owens and the California Medical Monitoring Class

have alleged sufficient facts to support medical monitoring as a remedy, as California’s articulation

of the five Potter factors weigh heavily in Plaintiffs’ favor. Alternatively, if the Court finds

insufficient facts to support a facial challenge, Plaintiffs seek leave to amend.

                                                    Respectfully submitted,

 Dated: October 4, 2024                             /s/Ling Kuang
                                                    William M. Audet (SBN 117456)
                                                    Mark E. Burton, Jr. (SBN 178400)
                                                    Ling Y. Kuang (SBN 296873)


                                                 10
        RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
          MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
Case 3:16-md-02741-VC Document 19468 Filed 10/04/24 Page 13 of 13




                                   AUDET & PARTNERS, LLP
                                   711 Van Ness Avenue, Suite 500
                                   San Francisco, CA 94102
                                   Telephone: (415) 568-2555
                                   Facsimile:    (415) 568-2556
                                   E-mails:      waudet@audetlaw.com
                                                 mburton@audetlaw.com
                                                 lkuang@audetlaw.com

                                   Counsel for Plaintiffs Ramirez and Owens




                                 11
RAMIREZ PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING STANDING
  MDL Case No. 3:16-md-02741-VC; Individual Case No. 3:19-cv-02224-VC
